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                                       Exhibit B

                                        Budget




DOCS_NY:48169.6 03703/001
Exhibit B

  Amyris, Inc., et al.
                                    Week 1      Week 2      Week 3      Week 4      Week 5      Week 6      Week 7      Week 8
  $ thousands                       14-Aug      21-Aug      28-Aug      4-Sep       11-Sep      18-Sep      25-Sep      2-Oct        Total

  Operating cash flows
  Receipts                             2,631       1,280       3,440       3,191       3,191       2,408       2,574       2,773     21,488
  Other receipts                         -           -           -           -           -           480         -           -          480
  Total Receipts                       2,631       1,280       3,440       3,191       3,191       2,888       2,574       2,773     21,968

  Payments per First day orders       (2,500)     (2,500)     (2,500)     (2,500)     (2,500)     (2,500)        -           -       (15,000)
  Other AP disbursements              (2,343)     (2,343)     (2,343)     (2,059)     (5,468)     (5,510)     (5,141)     (5,220)    (30,427)
  InterCo Disbursements for Goods     (3,063)     (1,932)     (1,932)     (2,357)     (2,158)     (2,440)     (1,761)     (1,434)    (17,076)
  InterCo Loan                        (7,623)     (6,071)     (6,018)     (5,414)     (4,501)     (4,777)     (4,532)     (3,113)    (42,048)
  Payroll                             (6,000)        (65)     (4,832)       (865)     (4,832)        (65)     (4,832)       (865)    (22,355)
  Insurance                              -           -           -        (1,500)        -           -           -           -        (1,500)
  Rent                                (1,457)        -           -        (1,457)        -           -           -        (1,457)     (4,371)
  Total disbursements                (22,986)    (12,911)    (17,624)    (16,152)    (19,459)    (15,291)    (16,266)    (12,089)   (132,778)

  Total Operating cash flows         (20,354)    (11,631)    (14,184)    (12,961)    (16,268)    (12,404)    (13,692)     (9,316)   (110,810)
                                                                                                                                                Case 23-11131-TMH




  Financing cash flows
  Financing                           30,000         -        40,000         -           -        40,000         -           -      110,000
  Total financing cash flows          30,000         -        40,000         -           -        40,000         -           -      110,000

  Restructuring costs
  Employee Separation costs             (754)        -           (83)        -           -          (773)        -           -        (1,610)
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  Board member fees                      -          (168)        -           -           -          (168)        -           -          (335)
  UST / Court / Deposit fees            (200)        -           -           -           -           -           -           -          (200)
  Professional fees                      -           -        (3,085)        -           -           -        (4,720)        -        (7,805)
  Total Restructuring costs             (954)       (168)     (3,168)        -           -          (941)     (4,720)        -        (9,950)

  Net Cash flow                        8,692     (11,798)     22,648     (12,961)    (16,268)     26,656     (18,412)     (9,316)    (10,760)

  Cash roll-forward
  Beginning cash                      10,853      19,545       7,747      30,395      17,434       1,166      27,822       9,410      10,853
  (+) / (-) Net cash flow              8,692     (11,798)     22,648     (12,961)    (16,268)     26,656     (18,412)     (9,316)    (10,760)
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  Ending cash                         19,545       7,747      30,395      17,434       1,166      27,822       9,410          94          94
                                                                                                                                                Page 2 of 2
